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  1   Stephanie R. Tatar (237792)
      TATAR LAW FIRM, APC
  2   3500 West Olive Avenue, Suite 300
  3   Burbank, CA 91505
      Telephone: (323) 744-1146
  4   Facsimile: (888) 778-5695
  5   Stephanie@thetatarlawfirm.com

  6   Attorneys for Plaintiff
  7   Vorris Benjamin Hunter

  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA

 10   VORRIS BENJAMIN HUNTER                       Civil Action No. 2:16-cv-2717
 11
                          Plaintiff,
 12                                                COMPLAINT FOR VIOLATION OF FAIR
 13                vs.                             CREDIT REPORTING ACT
 14   REALPAGE, INC.                               DEMAND FOR JURY TRIAL
 15
                          Defendant.
 16
 17
                                  PRELIMINARY STATEMENT
 18
 19         1.    This is an action for damages brought by an individual consumer
 20   against the Defendant for violations of the Fair Credit Reporting Act (hereafter the
 21   “FCRA”), 15 U.S.C. §§ 1681 et seq., as amended.
 22
 23                               JURISDICTION AND VENUE
 24         2.    Jurisdiction of this court arises under 15 U.S.C. § 1681p and 28 U.S.C.
 25   § 1331.
 26         3.    Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).
 27                                            1
                                                                 COMPLAINT AND
                                                           DEMAND FOR JURY TRIAL
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  1                                          PARTIES
  2         4.     Plaintiff Vorris Benjamin Hunter is an adult individual residing in
  3   Brentwood, CA.
  4         5.     Defendant RealPage, Inc. (“RealPage”) is a business entity that
  5   regularly conducts business in the Central District of California, and which has its
  6   headquarters and a principal place of business located at 4000 International
  7   Parkway, Carrollton, Texas 75007.
  8                                  FACTUAL ALLEGATIONS

  9         6.     Defendant has been reporting derogatory and inaccurate statements
 10   about Plaintiff and Plaintiff’s purported criminal history to third parties (“inaccurate
 11   information”).
 12         7.     The inaccurate information includes, but is not limited to, criminal
 13   record information which is not against Plaintiff, but instead against Plaintiff’s
 14   brother.
 15         8.     Defendant, however, has been inaccurately reporting these charges on

 16   Plaintiff’s consumer report.
            9.     Defendant has been reporting the inaccurate information through the
 17
      issuance of false and inaccurate consumer reports that it has disseminated and resold
 18
      to various persons, both known and unknown.
 19
            10.    Specifically, in or around August 2014, Plaintiff applied for and was
 20
      denied for a home rental.
 21         11.    The basis for the denial in his attempt to obtain the home rental was
 22   the inaccurate information that appears on Plaintiff’s consumer report prepared by
 23   Defendant.
 24         12.    Defendant reported the above inaccurate information despite having
 25   knowledge and/or access to Plaintiff’s name, address, social security number and
 26   date of birth, yet negligently, willfully and recklessly placed criminal record
 27                                              2
                                                                   COMPLAINT AND
                                                             DEMAND FOR JURY TRIAL
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  1   information of another person on his report anyway by following the unreasonable
  2   procedures.
  3         13.     Defendant failed to follow reasonable procedures to assure the
  4   maximum possible accuracy of the information it reported about the Plaintiff.
  5         14.     As a result of Defendant’s conduct, Plaintiff has suffered actual
  6   damages in the form of form of lost rental opportunities, harm to reputation, and
  7   emotional distress, including humiliation and embarrassment.
  8         15.     At all times pertinent hereto, Defendant was acting by and through its
  9   agents, servants and/or employees who were acting within the course and scope of
 10   their agency or employment, and under the direct supervision and control of the
 11   Defendant herein.
 12         16.     At all times pertinent hereto, the conduct of Defendant, as well as that
 13   of its agents, servants and/or employees, was malicious, intentional, willful,
 14   reckless, and in grossly negligent disregard for federal and state laws and the rights
 15   of the Plaintiff herein.
                                        COUNT I
 16
                                 VIOLATIONS OF THE FCRA
 17
 18         17.     Plaintiff incorporates the foregoing paragraphs as though the same
 19   were set forth at length herein.
 20         18.     At all times pertinent hereto, Defendant was a “person” and “consumer
 21   reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).
 22         19.     At all times pertinent hereto, the Plaintiff was a “consumer” as that
 23   term is defined by 15 U.S.C. § 1681a(c).
 24         20.     At all times pertinent hereto, the above-mentioned credit report was a
 25   “consumer report” as that term is defined by 15 U.S.C. § 1681a(d).
 26         21.     Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Defendant is
 27   liable to the Plaintiff for willfully and 3negligently failing to comply with the
                                                                      COMPLAINT AND
                                                           DEMAND FOR JURY TRIAL
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  1   requirements imposed on a consumer reporting agency of information pursuant to
  2   15 U.S.C. §1681e(b).
  3         22.    The conduct of Defendant were a direct and proximate cause, as well
  4   as a substantial factor, in bringing about the serious injuries, actual damages and
  5   harm to the Plaintiff that are outlined more fully above and, as a result, Defendant
  6   is liable to the Plaintiff for the full amount of statutory, actual and punitive damages,
  7   along with the attorneys’ fees and the costs of litigation, as well as such further
  8   relief, as may be permitted by law.
  9                                   JURY TRIAL DEMAND
 10         23.    Plaintiff demands trial by jury on all issues so triable.
 11                                    PRAYER FOR RELIEF
 12         WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages
 13   against the Defendant, based on the following requested relief:
 14                (a) Actual damages;
 15                (b) Statutory damages;
 16                (c) Punitive damages; and
 17                (d) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n
 18                    and 1681o.
 19
      Dated: April 18, 2016
 20                                            Respectfully Submitted,
 21
 22                                            ___________________
 23                                            Stephanie R. Tatar
                                               Tatar Law Firm, APC
 24                                            3500 West Olive Avenue
 25                                            Suite 300
                                               Burbank, CA 91505
 26                                            Telephone: (323) 744-1146
 27                                            Facsimile:
                                                  4       (888) 778-5695
                                                                    COMPLAINT AND
                                                              DEMAND FOR JURY TRIAL
